                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

      v.                                 CASE NO. 3:23-cr-00180-HES-SJH

NOAH MICHAEL URBAN

                          NOTICE OF RELATED CASES

      The United States of America, by Sara C. Sweeney, Acting United States

Attorney for the Middle District of Florida, hereby notifies this Honorable Court,

pursuant to Rule 1.07(b) of the Local Rules of the United States District Court,

Middle District of Florida, of the existence of a related case which concerns issues of

law and facts related to those of the above-captioned case. That case is United States v.

Noah Michael Urban, Case No. 3:25-cr-00070-MMH-PDB, which has been assigned

to United States District Judge Marcia Morales Howard.

                                         Respectfully submitted,

                                         SARA C. SWEENEY
                                         Acting United States Attorney


                                  By:    /s/ John Cannizzaro
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U.S. v. NOAH MICHAEL URBAN                    Case No. 3:23-cr-00180-HES-SJH


                          CERTIFICATE OF SERVICE

      I hereby certify that on March 20, 2025, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system.

            Kathryn E. Sheldon, Counsel for Defendant


                                        /s/ John Cannizzaro
                                        John Cannizzaro
                                        Assistant United States Attorney




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